                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                      Plaintiff,          )
                                          )
vs.                                       )      Case No. 10-3029-02-CR-S-GAF
                                          )
CHARLES MICHAEL HALL,                     )
                                          )
                      Defendant.          )

                                          ORDER

       Now pending before the Court is Defendant Charles Michael Hall’s Motion to Suppress

Statements to Investigators Due to Lack of Advice Concerning Rights and Lack of Waiver of

Rights (Doc. #211).

       On July 11, 2013, United States Magistrate Judge John T. Maughmer conducted an

evidentiary hearing on the motion to suppress statements. On March 4, 2014, Judge John T.

Maughmer issued his Report and Recommendation (Doc. #537). On April 1, 2014, Defendant

Hall’s Objections to the Report and Recommendation (Doc. #627) were filed.

       Upon careful and independent review of the pending motion and suggestions in support

thereof, Defendant Hall’s objections to the Report and Recommendation, as well as the

applicable law, this Court hereby adopts and incorporates as its own Opinion and Order the

Report and Recommendation of United States Magistrate Judge John T. Maughmer.




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Accordingly, it is hereby ORDERED that Defendant Charles Michael Hall’s Motion to Suppress

Statements to Investigators Due to Lack of Advice Concerning Rights and Lack of Wavier of

Rights (Doc. #211) is OVERRULED and DENIED.

      SO ORDERED.

                                                s/ Gary A. Fenner
                                                GARY A. FENNER, JUDGE
                                                UNITED STATES DISTRICT COURT

DATED: April 1, 2014




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